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                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             PINE BLUFF DIVISION

CARLOUS WOODS,                              *
                                            *
                   Plaintiff,               *
vs.                                         *         No. 5:13-cv-00067-SWW
                                            *
                                            *
BROOKSHIRE GROCERY                          *
COMPANY, STEVE BENNETT,                     *
Individually, and DENNIS DIEL,              *
Individually,                               *
                                            *
                   Defendants.              *

                                      JUDGMENT

      Pursuant to the Opinion and Order entered in this matter on this date, it is

Considered, Ordered, and Adjudged that this case be, and it hereby is, dismissed with

prejudice.


                           IT IS SO ORDERED this 19th day of March 2015.

                                                 /s/Susan Webber Wright
                                                 UNITED STATES DISTRICT JUDGE
